         Case
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     Attorney for Defendants, DANIEL SCHWARTZ
 5
 6            UNITED STATES DISTRICT COURT, DISTRICT OF NEVADA
                                     ****
 7   UNITED STATES OF AMERICA,            )
                                          )
 8
                          Plaintiff,      )
 9                                        )     2:15 CR-00339-GMN-GWF
          vs.                             )
10                                        )STIPULATION AND [PROPOSED
11   DANIEL SCHWARTZ.                     )ORDER] TO MODIFY CONDITIONS
                                          )OF PRETRIAL RELEASE AS TO
12                  Defendants.           )DEFENDANT DANIEL SCHWARTZ
                                          )
13
14          IT IS HEREBY STIPULATED and AGREED by and between Jared Grimmer, United

15   States Attorney, and Richard A. Schonfeld, counsel for Defendant, Daniel Schwartz, that Mr.

16   Schwartz’s Pretrial Release conditions be modified as follows:
17
            1.     That the previously imposed condition of Drug Testing be removed.
18
            2.     All other conditions that exist at this time will remain unchanged.
19
20          3.     Pretrial Services Officer Cotton does not object to this modification.

21          DATED this 30th day of September, 2016.
22   UNITED STATES ATTORNEY                                      ATTORNEY FOR DEFENDANT
23          /s/ Jared Grimmer                                      /s/ Richard A. Schonfeld
24   JARED GRIMMER, AUSA                                         RICHARD A. SCHONFELD, ESQ.
     Assistant United States Attorney                            Nevada Bar No. 6815
25   501 Las Vegas Blvd. South, Suite 1100                       520 S. Fourth Street, 2nd Floor
     Las Vegas, Nevada 89101                                     Las Vegas, Nevada 89101
26                                                               Attorney for Defendant
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         Case
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 1                                                ORDER
 2
            The matter having come before the court on the Stipulation of the parties with no objection
 3
     from Pretrial Services, and good cause appearing, the Stipulation to Modify Conditions of Pretrial
 4
     Release is GRANTED.
 5
 6          IT IS HEREBY ORDERED that Defendant, Daniel Schwartz’ Pretrial Release conditions

 7   shall be modified as follows:
 8
            1.       That the previously imposed condition of Drug Testing be removed.
 9
            2.       All other conditions that exist at this time will remain unchanged.
10
11          DATED this 30th day of September, 2016.

12
                                                           UNITED STATES MAGISTRATE JUDGE
13
14   Submitted by:

15     /s/
     RICHARD A. SCHONFELD, ESQ.
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